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UNITED STATES DISTRICT COURT                                          SOUTHERN DISTRICT OF TEXAS


                   Motion and Order for Admission Pro Hac Vice

      Division          Houston                               Case Number             4:21-cv-01263

                    Danielle Fleming, Austin Fleming, and Sold In A Snap LLC


                                                    versus
      Hearst Newspapers, LLC, d/b/a Houston Chronicle a/k/a Houstonchronicle.com a/k/a/
                         Chron.com and Move Inc. d/b/a Realtor.com


           Lawyer’s Name                  Christopher S. Lindsay
                Firm                      Jenner & Block LLP
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       Federal Bar & Number               9th Cir., C.D. Cal., N.D. Cal., S.D. Cal.


 Name of party applicant seeks to                                       Move Inc.
 appear for:


 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:       5/26/2021         Signed:



 The state bar reports that the applicant’s status is:   Active

 Dated:                         Clerk’s signature



               Order
                                                    This lawyer is admitted pro hac vice.

Dated:
                                                             United States District Judge
